Exhibit F
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Exhibit I
                                  United States Department of Justice
                                        United States Attorney’s Office
                                         Central District of California

AUSA Evan J. Davis                                         1100 United States Courthouse
Phone: (213) 894-4850                                      312 North Spring Street
E-mail: evan.davis@usdoj.gov                               Los Angeles, California 90012



June 19, 2014

VIA U.S. MAIL

Matthew D. Umhofer
Spertus, Landes & Umhofer, LLP
1990 South Bundy Dr., Suite 705
Los Angeles, CA 90025

        Re:      United States v. Cindy Omidi,
                 CR No. 13-00739-SVW

Dear Mr. Umhofer:

This letter responds to your June 11, 2014 letter requesting discovery and your follow-up letter
sent on June 17, 2014.
                                       Discovery produced
On June 16, 2014, the government provided you discovery in this matter. The government
believes that the discovery provided satisfies its discovery obligations. Once the Court signs the
ex parte applications allowing the government to produce records that may implicate Federal
Rule of Criminal Procedure 6(e) and for limited unsealing of certain pleadings, the government
will also provide you (1) financial records of various individuals and entities covering the period
alleged in the Indictment; and (2) the documents relating to the sealing of the Indictment.
              Your request for search warrant evidence and our phone conference
We believe your June 11, 2014 letter seeks evidence well beyond what could possibly be
relevant or discoverable in this case. It seeks evidence not only related to the allegations
contained in the Indictment, but also discovery into an ongoing criminal investigation of separate
criminal activity, including evidence from recent searches. The search evidence consists of an
estimated 1,700 boxes of evidence as well as 100 terabytes of data (“the seized evidence”).
So as to try to limit or eliminate any concerns about discovery in this structuring case – one that
we view as very narrow – we spoke earlier this week regarding the government’s present
intentions regarding how the case would be presented. Counsel for Ms. Omidi raised a number
of areas of concern and the parties discussed possibly stipulating to certain items to simplify the
discovery process, avoid pretrial litigation, and to streamline the trial.
First, we noted that Ms. Omidi’s discovery request appeared to assume that the government
would be showing that the structuring was based on a “pattern of illegal activity” beyond the
structuring itself. We stated that the “pattern of illegal activity” alleged in the Indictment
